Case 2:17-cr-00203-MCA Document 30-2 Filed 01/19/18 Page 1 of 4 PagelD: 86

EXHIBIT A

AADYAVARASHETTY, GOVARDHAN G\NOTICE OF MOTION TO TERMINATE PROBATION.DOCX
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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
MINUTES OF PROCEEDINGS

NEWARK
Date: September 18, 2017
JUDGE: HON. MADELINE COX ARLEO
COURT REPORTER: CHARLES MCGUIRE
DEPUTY CLERK: AMY ANDERSONN

PROBATION OFFICER: Beth Neugass
Docket No. 17-CR-203(MCA)

Title of Case: U.S.A. v. GOVARDHAN G. DYAVARASHETTY

Appearances: Dennis Carletta, AUSA for the Government
Jerard A. Gonzalez, Esq., for the defendant DYAVARASHETTY

Nature of Proceedings: Sentence

Conference held.
Probation: 12 months as to Count 1
Special Conditions:
1. Cooperation with Immigration and Customs Enforcement
2. Mental health treatment
3. Occupational restrictions
4. Self-Employment/business disclosure
Special Assessment: $100.00 as to Count 1
Fine: waived
Defendant advised of right to appeal.

Time Commenced: 11:15 a.m. Time Adjourned: 11:45 a.m.

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Amy Andersonn, Deputy Clerk
Case 2:17-cr-00203-MCA Document 30-2 Filed 01/19/18 Page 3 of 4 PagelD: 88

EXHIBIT B

A\DYAVARASHETTY, GOVARDHAN G\NOTICE OF MOTION TO TERMINATE PROBATION.DOCX
Case 2:17-cr-00203-MCA Document 30-2 Filed 01/19/18 Page 4 of 4 PagelD: 89

Homeland Security Investigations
Office of the Special Agent in Charge

U.S. Department of Homeland Security
620 Frelinghuysen Avenue
Newark, NJ 07114

\ U.S. Immigration
| and Customs
Enforcement

 

Govardhan DYAVARASHETTY
AXXXXXXXX

Dear Govardhan DYAVARASHETTY:

This is to notify you that you have been placed in “Deferred Action” for a period of two
years from the above date. You have been granted deferred action as an act of discretion by and
for the administrative convenience of the United States Government.

Deferred action will allow you to remain in the United States until it has been determined
by the United States Government *hat the need for a deferred action is no longer warranted.
Deferred action does not confer any immigration benefits upon you, and is not a reflection of
your immigration status.

While in deferred action, you are required to obey all federal, state, and local laws. You
may not depart the United States without the written consent of U.S. Immigration and Customs
Enforcement. Accordingly, the deferred action will be rescinded should you depart the United
States without permission, purchase, possess, or carry a firearm, or refuse to comply with or
violate any of the terms or conditions of either the deferred action or laws of the United States.
You are eligible to apply for employment authorization in accordance with 8 CFR 274a
12(c)(14). However, if the deferred action is rescinded, any employment authorization will no
longer be valid.

You are required to report regularly to a case agent or officer. Please contact your case
agent or officer concerning the specific terms and conditions of your deferred action and to
establish a contact.

Sincerely,

{shh

Terence S. Opiola
Special Agent in Charge

www.ice.gov
